       Case 22-30001              Doc 6       Filed 01/14/22 Entered 01/14/22 08:20:30                     Desc Notice of
                                                 Defective Filing Page 1 of 1

                                            UNITED STATES BANKRUPTCY COURT
                                               Western District of North Carolina
                                                      Charlotte Division

                                                         Case No. 22−30001
                                                             Chapter 7




In Re: Debtor(s) (name(s) used in the last 8 years, including married, maiden, trade, and address):
      Brent Alan Hindman
      2009 Sentinel Drive
      Indian Trail, NC 28079
      Social Security No.: xxx−xx−8036




                         NOTICE OF DEFECTIVE ENTRY OR FILING

NOTICE IS HEREBY GIVEN that the Amended Document filed in the above referenced case on 01/13/2022 as
document(s) # 5 is defective for the reason(s) marked below:


         Amended schedules filed and declaration not included. Please re−file Amended Declaration and attach
         amended schedules as attachments.
         Amended schedules and/or statements filed, cover sheet not included pursuant to L.R. 1007−5(c).



PLEASE TAKE NOTICE that this should be corrected immediately to allow for timely processing of the
case/proceeding.



Dated: January 14, 2022                                                                       Steven T. Salata
                                                                                              Clerk of Court


Electronically filed and signed (1/14/22)
